Case 2:15-cv-04424-AG-AJW Document 316 Filed 02/27/17 Page 1 of 2 Page ID #:13261




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  13    UNICLASS TECHNOLOGY CO. LTD., ET AL
  14                      UNITED STATES DISTRICT COURT

  15                    CENTRAL DISTRICT OF CALIFORNIA

  16    ATEN TECHNOLOGY, CO. LTD.            No. 2:15-cv-04424-BRO-AJW
  17
                            Plaintiff,       DEFENDANTS’ NOTICE OF
  18                                         MOTION AND MOTION IN LIMINE
  19        vs.                              TO EXCLUDE THE EXPERT
                                             OPINION AND TESTIMONY OF
  20    UNICLASS TECHNOLOGY CO.,             JEFFREY SNELL
  21    LTD., et al.
                                             [filed concurrently with Memorandum of
  22                      Defendants.
                                             Points and Authorities]
  23
                                             Hearing Date: March 13, 2017
  24
                                             Hearing Time: 10:00 a.m.
  25                                         Courtroom: 10D
  26                                         Judge: Hon. Andrew Guilford
  27
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        _________________________________________________________________
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    1         PLEASE TAKE NOTICE THAT on March 13, 2017 at 10:00 a.m., or as
    2   soon thereafter as the matter may be heard, before the Honorable Andrew
    3   Guilford, United State District Court Judge, in Courtroom 10D of the above-
    4   entitled Court, Defendants Uniclass Technology Co., Ltd., et al. (“Uniclass”)
    5   will and hereby does move, pursuant to Federal Rule of Evidence 702 and related
    6   case law, to exclude testimony of Jeffery Snell, ATEN’s damages expert.
    7         This motion is based upon this notice of motion and motion, the attached
    8   memorandum of points and authorities, the declarations and other evidence filed
    9   concurrently herewith, the pleadings and other records on file in this action, and
  10    on such further evidence and arguments as the Court may consider at or before
  11    the hearing on this motion. This motion is made following the conference of
  12    counsel pursuant to Local Rule 7-3, which took place in multiple email
  13    correspondence and calls by at least February 15, 2015, as set forth in the
  14    concurrently filed Declaration of Joseph G. Pia (“Pia Decl.”).
  15
  16    Dated: February 27, 2017        Respectfully submitted,
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  18                                          /s/ Joseph G. Pia
  19                                          Robert E. Aycock
                                              Joseph G. Pia
  20                                          Jen-Feng “Jeff” Lee
  21                                          Attorney for Defendants
                                              UNICLASS TECHNOLOGY CO., LTD.,
  22
                                              ELECTRONIC TECHNOLOGY CO.,
  23                                          LTD. OF DONGGUAN UNICLASS,
  24                                          AIRLINK 101, PHOEBE MICRO INC.,
                                              BROADTECH INTERNATIONAL CO.,
  25                                          LTD. D/B/A/ LINKSKEY, BLACK BOX
  26                                          CORPORATION, and BLACK BOX
                                              CORPORATION OF PENNSYLVANIA
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